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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non Profit Corporation, and RONALD
MOORE, Individually,

                Plaintiffs,                                     Case No.

vs.

BAYSIIORE MALL 1A, LLC, a New Jersey
Limited Liability Company, BAYSHORE MALL
lB. LLC, a New Jersey Limited Liability Company,
and BAYSHORE MALL 2, LLC, a New Jersey
Limited Liability Company,

               Defendants.


                                           COMPLAINT

       Plaintiffs, THE INDEPENDENCE PROJECT, INC., aNew Jersey Non Profit Corporation,

and RONALD MOORE, Individually, on their behalf and on behalf of all other mobility impaired

individuals similarly situated, (sometimes referred to as "Plaintiff’ or "Plaintiffs"), hereby sue the
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Defendants, BAYSHORE MALL 1A, LLC, a Florida Limited Liability Company, BAYSI-IORE

MALL 113, LLC, a Delaware Limited Liability Company, and BAYSHORE MALL 2, LLC, a

Delaware Limited Liability Company, (referred to as "Defendants"), for Injunctive Relief, damages,

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et Lqq. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT, 42 USC § 12181, et AM.

       Plaintiff, Ronald Moore, is an individual residing at 1002 Central Ave., New Providence, NJ

       07974, in the County of Union.

2.     Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation formed under

       the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC. maintains its

       principal office at 1002 Central Ave., New Providence, NJ 07974, in the County of Union.

3.     Defendants, BAYSHORE MALL 1A, LLC, BAYSHORE MALL 113, LLC, and

       BAYSHORE MALL 2, LLC, are the owners of the subject property alleged by the Plaintiffs

       to be operating in violation of Title III of the ADA.

4.     Defendants’ property, Bayshore Mall, is located at 3845 Bayshore Rd., North Cape May, NJ

       08204, in the County of Monmouth.

5.     Venue is properly located in the District of New Jersey because venue lies in the judicial

       district of the property situs. The Defendants’ property is located in and does business within

       this judicial district.

6.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendants’ violations of Title III of the


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      Americans with Disabilities Act, 42 U.S.C. § 12181 et q. See also 28 U.S.C. § 2201 and

      § 2202.

7.    Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an individual

      with disabilities as defined by the ADA, being a quadriplegic. Ronald Moore has visited the

      property which forms the basis of this lawsuit and plans to return to the property in the near

      future to avail himself of the goods and services offered to the public at the property. The

      Plaintiff has encountered architectural barriers at the subject property. The barriers to access

      at the property have endangered his safety. The Plaintiff is also a member of the Plaintiff

      organization, THE INDEPENDENCE PROJECT, INC., discussed below in paragraph 8.

8.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey corporation.

      Members of this organization include individuals with disabilities as defined by the ADA.

      The purpose of this organization is to represent the interest of its members by assuring places

      of public accommodation are accessible to and usable by the disabled and that its members

      are not discriminated against because of their disabilities.

9.    THE INDEPENDENCE PROJECT, INC. and its members have suffered and will continue

      to suffer direct and indirect injury as a result of the Defendants’ discrimination until the

      Defendants are compelled to comply with the requirements of the ADA. One or more of its

      members has suffered an injury that would allow it to bring suit in its own right. THE

      INDEPENDENCE PROJECT, INC. has also been discriminated against because of its

      association with its disabled members and their claims.

10.   Defendants own, lease, lease to, or operate a place of public accommodation as defined by

      the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.


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      Defendants are responsible for complying with the obligations of the ADA. The place of

      public accommodation that the Defendants own, operate, lease or lease to is known as

      Bayshore Mall, and is located at 3845 Bayshore Rd., North Cape May, NJ 08204.

11.   THE INDEPENDENCE PROJECT, INC. and Ronald Moore have a realistic, credible,

      existing and continuing threat of discrimination from the Defendants’ non-compliance with

      the ADA with respect to this property as described but not necessarily limited to the

      allegations in paragraph 13 of this complaint. Plaintiffs have reasonable grounds to believe

      that they will continue to be subjected to discrimination in violation of the ADA by the

      Defendants. Ronald Moore desires to visit Bayshore Mall not only to avail himself of the

      goods and services available at the property but to assure himself that this property is in

      compliance with the ADA so that he and others similarly situated will have full and equal

      enjoyment of the property without fear of discrimination.

12.   The Defendants have discriminated against the individual Plaintiff and members of the

      corporate Plaintiff organization by denying them access to, and full and equal enjoyment of,

      the goods, services, facilities, privileges, advantages and/or accommodations of the

      buildings, as prohibited by 42 U.S.C. § 12182 etcq.

13.   The Defendants have discriminated, and are continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992

      (or January 26, 1993, if Defendants have 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Bayshore Mall has shown that violations

      exist. These violations that Ronald Moore personally encountered and observed include, but

      are not limited to:
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    Parking and Exterior Accessible Route

    A.     Parking spaces throughout Bay Shore Mall are not maintained, contain slopes and
           abrupt changes of level within the spaces, violating Sections 502 and 502.4 of the
           2010 Accessibility Standards. These conditions prevent Mr. Maurer and those in
           wheelchairs to unload from their vehicles freely and safely.

    B.     Curb ramps provided to access stores at Bay Shore Mall are unsafe for wheelchair
           users and are not provided in some areas of the center. The curb ramps contain abrupt
           changes of level, contain cross slopes and slopes beyond the limits, violating Sections
           406 and 502.7 of the 2010 Accessibility Standards.

    C.    The exterior accessible route from parking spaces at Bay Shore Mall fails to lead to
          accessible curb ramps and was found to contain cross slopes and abrupt changes of
          level, those in wheelchairs can be harmed by these conditions, violating Sections
          403.4 and 402 of the 2010 Accessibility Standards. An accessible route for Mr.
          Maurer is not provided throughout the plaza.

    D.    Bay Shore Mall fails to provide a safe accessible route to the adjacent bus stop, street
          or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards.

    Access to Goods and Services

    E.    Italian Affair, Asian Palace and other restaurants fail to provide accessible dining
          tables for those in wheelchairs, violating Section 902 of the 2010 Accessibility
          Standards.

    F.    Payment counters throughout Bay Shore Mall are mounted beyond the reach of Mr.
          Maurer and others in wheelchairs, violating Sections 308 and 904 of the 2010
          Accessibility Standards.

    P tfrtnmc



    G.    Restrooms at Bay Shore Mall including Italian Affair, Asian Palace, Oriental Nails
          III, North Beach Health Club and other tenants were reported to be unsafe for use by
          the plaintiff. Inspection revealed Mr. Maurer was unable to use the restrooms safely
          due to a lack of accessibility. Including, inaccessible water closets which lack proper
          controls and wheelchair maneuvering space violating Section 601 of the 2010
          Accessibility Standards.

    H.    Restrooms at Bay Shore Mall provide dispensers beyond reach of wheelchair users
          and are inaccessible to the plaintiff, violating Section 308 of the 2010 Accessibility
          Standards.


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      I.      Lavatories at Italian Affair and Asian Palace lack knee clearance and accessibility
              preventing the plaintiff from freely accessing the lavatory, violating Section 606 the
              2010 Accessibility Standards.

      J.      Italian Affair and Asian Palace provides restrooms that contain improper centerlines
              for the water closets and flush controls mounted on the wall side, violating Section
              604 of the 2010 Accessibility Standards.

      K.      Entering restrooms throughout the Bay Shore Mall including Italian Affair and Asian
              Palace is impeded by improper door hardware and a lack of maneuvering space to
              enter, violating Section 404 of the 2010 Accessibility Standards.


14.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities

      Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design, as

      promulgated by the U.S. Department of Justice.

15.   The discriminatory violations described in paragraph 13 are not an exclusive list of the

      Defendants’ ADA violations. Plaintiffs require the inspection of the Defendants’ place of

      public accommodation in order to photograph and measure all of the discriminatory acts

      violating the ADA and all of the barriers to access. The individual Plaintiff, the members

      of the Plaintiff group, and all other individuals similarly situated, have been denied access

      to, and have been denied the benefits of services, programs and activities of the Defendants’

      buildings and its facilities, and have otherwise been discriminated against and damaged by

      the Defendants because of the Defendants’ ADA violations, as set forth above. The

      individual Plaintiff, the members of the Plaintiff group and all others similarly situated will

      continue to suffer such discrimination, injury and damage without the immediate relief

      provided by the ADA as requested herein. In order to remedy this discriminatory situation,

      the Plaintiff requires an inspection of the Defendants’ place of public accommodation in


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      order to determine all of the areas of non-compliance with the Americans with Disabilities

      Act,

16.   Defendants have discriminated against the individual and corporate Plaintiffs by denying

      them access to full and equal enjoyment of the goods, services, facilities, privileges,

      advantages and/or accommodations of its place of public accommodation or commercial

      facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

      the Defendant continue to discriminate against the Plaintiff, and all those similarly situated

      by failing to make reasonable modifications in policies, practices or procedures, when such

      modifications are necessary to afford all offered goods, services, facilities, privileges,

      advantages or accommodations to individuals with disabilities; and by failing to take such

      efforts that may be necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals because of the

      absence of auxiliary aids and services.

17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Considering the balance of hardships between the Plaintiffs and Defendants, a remedy in

      equity is warranted. Furthermore, the public interest would not be disserved by a permanent

      injunction. Plaintiffs have retained the undersigned counsel and are entitled to recover

      attorney’s fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C.

      § 12205 and 28 CFR 36.505,

18.   Defendants are required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommodation that

      have existed prior to January 26, 1992,28 CFR 36.304(a); in the alternative, if there has been


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      an alteration to Defendants’ place of public accommodation since January 26, 1992, then the

      Defendant are required to ensure to the maximum extent feasible, that the altered portions

      of the facility are readily accessible to and useable by individuals with disabilities, including

      individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendants’ facility is

      one which was designed and constructed for first occupancy subsequent to January 26, 1993,

      as defined in 28 CFR 36.40 1, then the Defendants’ facility must be readily accessible to and

      useable by individuals with disabilities as defined by the ADA.

19.   Notice to Defendants is not required as a result of the Defendants’ failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have been

      met by Plaintiffs or waived by the Defendants.

20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendants to alter Bayshore Mall to

      make its facilities readily accessible and useable to the Plaintiffs and all other persons with

      disabilities as defined by the ADA; or by closing the facility until such time as the

      Defendants cure its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.      The Court issue a Declaratory Judgment that determines that the Defendants at the

              commencement of the subject lawsuit are in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.      Injunctive relief against the Defendants including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to and
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              usable by individuals with disabilities to the extent required by the ADA; and to

              require the Defendants to make reasonable modifications in policies, practices or

              procedures, when such modifications are necessary to afford all offered goods,

              services, facilities, privileges, advantages or accommodations to individuals with

              disabilities; and by failing to take such steps that may be necessary to ensure that no

              individual with a disability is excluded, denied services, segregated or otherwise

              treated differently than other individuals because of the absence of auxiliary aids and

              services.

      C,      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

                                 COUNT II
           VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

21.   Plaintiffs reallege all prior obligations as if fully set forth herein. Plaintiffs repeat the

      allegations contained in all of the proceeding paragraphs.

22.   Defendants’ facility is a place of public accommodation as defined by N.J. S .A. 10:5-5, (New

      Jersey Law Against Discrimination).

23,   New Jersey law provides that all persons shall have the opportunity to obtain all the

      accommodations, advantages, facilities and privileges of any place of public accommodation

      without discrimination on the basis of disability. This opportunity is recognized and declared

      to be a civil right. (See, N.J.S.A. 10:5-4.)
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24.            As a result of the aforementioned discrimination, Plaintiff Ronald Moore has sustained

               emotional distress, mental anguish and suffering and humiliation, and other injuries, in

              violation of the New Jersey Law Against Discrimination,

              WHEREFORE, Ronald Moore demands judgment for damages, attorneys’ fees, litigation

expenses, including expert fees and costs pursuant to the New Jersey Law Against Discrimination.

                                                         Respectfully Submitted,

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                                                         Date:

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                                                         Project, Inc. and Ronald Moore
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